                  Case 23-11069-CTG              Doc 378        Filed 08/30/23        Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )
                                                                     )     Re: Docket No. 22
                                                          Objection Deadline: September 8, 2023 at 4:00 p.m. (ET)
                                                             Hearing Date: September 15, 2023 at 11:30 a.m. (ET)
   NOTICE OF HEARING ON MOTION OF THE DEBTORS FOR ENTRY OF AN
ORDER (I)(A) APPROVING BIDDING PROCEDURES FOR THE SALE OR SALES OF
 THE DEBTORS’ ASSETS; (B) SCHEDULING AN AUCTION AND APPROVING THE
FORM AND MANNER OF NOTICE THEREOF; (C) APPROVING ASSUMPTION AND
    ASSIGNMENT PROCEDURES, (D) SCHEDULING A SALE HEARING AND
     APPROVING THE FORM AND MANNER OF NOTICE THEREOF; (II)(A)
APPROVING THE SALE OF THE DEBTORS’ ASSETS FREE AND CLEAR OF LIENS,
    CLAIMS, INTERESTS AND ENCUMBRANCES AND (B) APPROVING THE
     ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
        UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that, on August 7, 2023, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”), filed the Motion of the Debtors for Entry

of an Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B)

Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Approving

Assumption and Assignment Procedures, (D) Scheduling a Sale Hearing and Approving the Form

and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear

of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption and Assignment



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.




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             Case 23-11069-CTG         Doc 378     Filed 08/30/23     Page 2 of 4




of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief (the “Motion”)

[Docket No. 22] with the United States Bankruptcy Court for the District of Delaware, 824 Market

Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion

is attached hereto as Exhibit A and was previously served upon you.

              PLEASE TAKE FURTHER NOTICE that any response or objection to the

Motion must be filed with the Bankruptcy Court on or before September 8, 2023 at 4:00 p.m.

prevailing Eastern Time.

              PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve

a copy of the response or objection upon: (i) the Debtors, Yellow Corporation, 11500 Outlook

Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed counsel to

the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.:

Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com) and

(B) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705,

Wilmington, Delaware 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), Timothy P.

Cairns (tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward Corma

(ecorma@pszjlaw.com); (iii) the Office of United States Trustee for the District of Delaware, 844

King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.:             Jane Leamy

(jane.m.leamy@usdoj.gov) and Richard Shepacarter (richard.shepacarter@usdoj.gov); and

(iv) proposed counsel to the Committee, (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant

Park, Bank of America Tower, New York, NY 10036-6745 US, Attn.: Philip C. Dublin

(pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com), and Kevin Zuzolo

(kzuzolo@akingump.com) and (B) proposed co-counsel to the Committee, Benesch Friedlander



                                               2
            Case 23-11069-CTG       Doc 378    Filed 08/30/23   Page 3 of 4




Coplan & Aronoff LLP, 1313 North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.:

Jennifer   R.     Hoover     (jhoover@beneschlaw.com)     and    Kevin    M.     Capuzzi

(kcapuzzi@beneschlaw.com).

                PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

       PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

APPROVAL OF THE MOTION WILL BE HELD ON SEPTEMBER 15, 2023 AT 11:30 A.M.

PREVAILING EASTERN TIME BEFORE THE HONORABLE CRAIG T. GOLDBLATT,

UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 3RD

FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.




                                           3
             Case 23-11069-CTG   Doc 378   Filed 08/30/23    Page 4 of 4



Dated: August 30, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)   Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)   David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)      Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)        KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP     KIRKLAND & ELLIS INTERNATIONAL LLP
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Facsimile:      (302) 652-4400        Email:           patrick.nash@kirkland.com
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                tcairns@pszjlaw.com                    whitney.fogelberg@kirkland.com
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                                      Allyson B. Smith (admitted pro hac vice)
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
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                                      New York, New York 10022
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                                      Proposed Co-Counsel for the Debtors and Debtors in
                                      Possession




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